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AO 245B (Rev. 06/05) Judgment in a Criminal Case
                   Sheet 1


                            UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WISCONSIN
          UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                    V.
          THOMAS KUSSMAUL                                                   Case Number: 14-CR-3

                                                                            USM Number: 08665-090

                                                                            Robert Ruth
                                                                            Defendant's Attorney

                                                                            Munish Sharda for Peter Jarosz
                                                                            Assistant United States Attorney
THE DEFENDANT:
:     pleaded guilty to count two of the indictment.

9     pleaded nolo contendere to count(s)
      which was accepted by the court.
9     was found guilty on count(s)
      after a plea of not guilty.


The defendant is adjudicated guilty of these offenses:


 Title & Section                   Nature of Offense                                            Offense Ended                     Count


 21 U.S.C. § 841               distribution of morphine                                 11/18/13                              2


     The defendant is sentenced as provided in Pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
9     The defendant has been found not guilty on count(s)

9     Count(s)                                           9 is 9 are dismissed on the motion of the United States.
      It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and the United States attorney of material changes in economic circumstances.

                                                                                      May 20, 2014
                                                                                      Date of Imposition of Judgment

                                                                                      /s Lynn Adelman

                                                                                      Signature of Judicial Officer

                                                                                      Lynn Adelman, District Judge
                                                                                      Name & Title of Judicial Officer

                                                                                      May 20, 2014
                                                                                      Date
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AO 245B (Rev. 06/05) Judgment in a Criminal Case:
        Sheet 2 - Imprisonment

Defendant:                    THOMAS KUSSMAUL
Case Number:                  14-CR-3

                                                            IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of : time-served.




9 The court makes the following recommendations to the Bureau of Prisons:




9 The defendant is remanded to the custody of the United States Marshal.
9 The defendant shall surrender to the United States Marshal for this district.
  9 at                      9 a.m.         9 p.m. on                          .

  9 as notified by the United States Marshal.
9 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons,
  9 before 2 p.m. on                                .

  9 as notified by the United States Marshal.
  9 as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
     I have executed this judgment as follows:




     Defendant delivered on                                               to
a                                          , with a certified copy of this judgment.


                                                                                       UNITED STATES MARSHAL

                                                                                By
                                                                                       DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 06/05) Judgment in a Criminal Case:
         Sheet 3 - Supervised Release

Defendant:                    THOMAS KUSSMAUL
Case Number:                  14-CR-3
                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : three years.

      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
      9     The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
            substance abuse. (Check, if applicable.)
      9     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

      9     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

      9     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
            is a student, as directed by the probation officer. (Check, if applicable.)
      9 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or a restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
 1)   the defendant shall not leave the judicial district without permission of the court or probation officer;
 2)   the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
      of each month;
 3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)   the defendant shall support his or her dependents and meet other family responsibilities;
 5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
      acceptable reasons;
 6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
      substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)   the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of
      a felony, unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
      record or personal history or characteristics and shall permit the probation officer to make such notification and to confirm the
      defendant's compliance with such notification requirement.
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AO 245B (Rev. 06/05) Judgment in a Criminal Case:
         Sheet 3A - Supervised Release

Defendant:                               THOMAS KUSSMAUL
Case Number:                             14-CR-3

                                       ADDITIONAL SUPERVISED RELEASE TERMS

     The defendant shall spend up to 180 days in a residential reentry center, as approved by the supervising
probation officer, with admission upon first available vacancy. Defendant may be absent from the center for
employment purposes, for mental health counseling and treatment, and for passes consistent with program rules.
Defendant is to pay for his own medical expenses, if any, and is to pay 25% of his gross income toward the cost of
residence.

     Defendant shall abstain from the use of illegal drugs and from association with drug users and sellers and
participate in substance abuse treatment. The defendant shall submit to drug testing beginning within 15 days of his
release and 60 drug tests annually thereafter. The probation office may utilize the Administrative Office of the U.S.
Courts’ phased collection process.

     Defendant shall participate in mental health referral, assessment and treatment as approved by the supervising
U.S. probation officer and comply with all rules, regulations and recommendations of the mental health agency or
its representative to the extent approved by the supervising U.S. probation officer. Defendant shall take any
medications prescribed by a licensed medical provider. Defendant shall be required to obtain his own
funding for services.
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AO 245B (Rev 06/05) Judgment in a Criminal Case:
         Sheet 5 - Criminal Monetary Penalties

Defendant:                    THOMAS KUSSMAUL
Case Number:                  14-CR-3

                                              CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                                        Assessment                       Fine                        Restitution
          Totals:                       $100.00                          $                           $




      9 The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case (AO 245C) will
          be entered after such determination.


      9 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
      in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
      be paid before the United States is paid.


Name of Payee                                      Total Loss*                Restitution Ordered               Priority or Percentage




Totals:                                            $                         $

9 Restitution amount ordered pursuant to plea agreement $

9 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


9 The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     9 the interest requirement is waived for the          9 fine            9 restitution.

     9 the interest requirement for the                    9 fine            9 restitution is modified as follows:


*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev 06/05) Judgment in a Criminal Case:
    Sheet 6 - Schedule of Payments

Defendant:                                             THOMAS KUSSMAUL
Case Number:                                           14-CR-3

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:
A     :     Lump sum payment of $100.00 due immediately, balance due

            9 not later than                          , or

            9 in accordance 9 C, 9 D, 9 E or 9 F below; or

B     9     Payment to begin immediately (may be combined with          9 C, 9 D, or 9 F below); or
C     9     Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                                 (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or
D     9     Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                              (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprison-
            ment to a term of supervision; or
E     9     Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F     9     Special instructions regarding the payment of criminal monetary penalties:




      Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties
is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




9 Joint and Several
      Defendant and Co-Defendant Names, Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
      corresponding payee, if appropriate:




9 The defendant shall pay the cost of prosecution.

9 The defendant shall pay the following court cost(s):

9 The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
